
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant (Matthews) on the 31st day of August 2005 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Plaintiff, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 1st day of December 2005."
Upon consideration of the petition filed on the 31st day of August 2005 by Defendant (Matthews) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 1st day of December 2005."
Upon consideration of the petition filed by Defendant on the 15th day of September 2005 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed for the limited purpose of remanding this case to the Court of Appeals for more thorough consideration in light of Tubiolo v. Abundant Life Church, Inc., 167 N.C.App. 324, 605 S.E.2d 161 (2004), disc. rev. denied, 359 N.C. 326, 611 S.E.2d 853, cert. denied, ___ U.S. ___, 126 S.Ct. 350, 163 L.Ed.2d 59 (2005) by order of the Court in conference, this the 1st day of December 2005."
